Case 2:19-cv-13094-TGB-EAS ECF No. 4-1, PageID.51 Filed 10/29/19 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

MARK W. DOBRONKSI,
                                             Case No. 19-cv-13094
            Plaintiff,
                                             Hon. Marianne O. Battani
-vs-
                                             Magistrate Judge Elizabeth A. Stafford
SUNPATH LTD., ET AL.
                                             Civil Action
          Defendant.
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                       INDEX OF EXHIBITS TO
                   DEFENDANTS’ MOTION TO DISMISS

       1.   Declaration of Andrew Garcia

       2.   Declaration of Joseph Abraham

       3.   LexisNexis Cases (in Citation Order)
